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EXHIBIT B
Case 6:16-cv-01327-GAP-DCl

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

JOHN CRUZ ALICEA,

Plaintiff.
Vv.

DEPUTY BRIAN MALLARD, in his
individual capacity, DEPUTY JEFFREY
BROUGH, in his individual capacity;
SHERIFF JERRY DEMINGS as Sheriff of
Orange County Florida Sheriff's Office;
HOUSE OF BLUES ORLANDO
RESTAURANT CORP.; and LIVE
NATION WORLDWIDE, INC.,

Defendants.

 

 

1.

Civil Case No.: 6:16-cv-01327-GAP-
DAB

AFFIDAVIT OF BRADLEY N. LAURENT, ESQUIRE

BEFORE ME, personally appeared BRADLEY N. LAURENT, who after being duly sworn
states as follows:

I, BRADLEY N. LAURENT., Affiant, first being duly sworn on oath, depose and say

as follows:

I am an attorney/shareholder with the Law Office of Haynes & Laurent, P.A., licensed

to practice inthe state of Florida and a member of the Florida Bar in good standing

since 2005.

I am the lead counsel of record for the Plaintiff, JOHN CRUZ ALICEA (hereinafter

"Plaintiff") in the above-referenced matter, I am competent to testify, and have personal

knowledge of the facts contained here.

I have practiced in the area of civil rights law since 2008.
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5. My hourly rate in this case is $375.00 per hour, which is reasonable for attorneys practicing
civil rights law.

6. Tam admitted to practice before the United States District Courts for the Middle, Northern,
Southern Districts of Florida and the Eleventh Circuit Court of Appeals. I have litigated
civil rights cases in the middle and northern district. I have also been successful in two out
of the seven civil rights appeal cases brought before the eleventh circuit court of appeals. I
have also litigated civil case in the Southern District of Florida.

7. Carlus Haynes who is also an attorney/shareholder at the Law Office of Haynes & Laurent,
P.A. and has been a member of the Florida bar since 2004 also expended time in bringing
this case against the Defendant. Mr. Haynes hourly rate is also $375.00 an hour. Which I
find to be a reasonable hourly rate for an attorney with Mr. Haynes experience.

8. Throughout this case, I kept time records of my time prosecuting this case.

9. I have reviewed the itemized billing records for this case since I was retained on this case.

10. The billing records attached as Exhibit A show that I expended 394.77 hours at the rate of
$375.00 for a total of $148,037.50. Carlus Haynes expended 82.83 hours at the rate of
$375.00 for a total of $31,061.25. The total amount of attorneys fees incurred as a result
of litigating this case were $179,098.75.

11. The Plaintiff also incurred $2,388.79 in costs.

12. Therefore, the Plaintiff incurred a grand total of $181,487.54 in attorneys’ fees and costs.

13. All of the above fees and expenses were actually and necessarily incurred as a result of
having to prosecute a claim against the Defendant, Brian Mallard. The billing rates as

outlined are more than reasonable in the community.
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FURTHER AFFIANT SAYETH NAUGHT

DATED this 14" day of August, 2018 LE ,
LLEF —<—— ooo

Brgstey N. Laurent, Esquire

 

STATE OF FLORIDA
COUNTY OF ORANGE

The forgoing instrument was acknowledged before me this 14" day of August, 2018, by Bradley N.

Laurent who is(Personaly known or has produced —__ as identification.
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fo dlKOP

Notary Public SSP?
My Commission Expires:

  

 

(SEAL)

Notary Public State of Florida

amadette A Prieto
ny Commission FF 897248

Expires 07/08/2019

 
   
      
